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   June 24, 2021

   VIA EMAIL

   ATTN: Elections & Voting
   Colorado Secretary of State
   1700 Broadway, Ste. 550
   Denver, CO 80290
   Email: elections@sos.state.co.us

   RE: NVRA public disclosure request

   Dear Disclosure Officer:

   I am writing on behalf of the Public Interest Legal Foundation to request inspection (or
   production) of records related to voter list maintenance activities conducted in concert with
   Colorado’s membership in the Electronic Registration Information Center (“ERIC”).

   The Public Interest Legal Foundation is a nonpartisan, nonprofit, public-interest law firm that
   studies and promotes list maintenance procedures designed to protect the integrity of American
   elections.

   The National Voter Registration Act of 1993 (“NVRA”), 52 U.S.C. §§ 20501 et seq., requires
   each state and the District of Columbia to make available for public inspection “all records
   concerning the implementation of programs and activities conducted for the purpose of ensuring
   the accuracy and currency of official lists of eligible voters.” 52 U.S.C. § 20507(i)(1); see also
   Project Vote/Voting for Am., Inc. v. Long, , 682 F.3d 331, 334-335 (4th Cir. 2012) (The NVRA
   requires election officials to provide list maintenance records to the public).

   Pursuant to Section 20507(i) of NVRA, we request that your office reproduce or provide the
   opportunity to inspect the following records:

       1. All “ERIC Data”1 received from ERIC during the years 2019, 2020, and 2021 concerning
          registered voters identified as deceased or potentially deceased.2
       2. All reports and/or statewide-voter-registration-system-generated lists showing all
          registrants removed from the list of eligible voters for reason of death for the years 2019,

   1
     “ERIC Data” means “data included in reports provided by ERIC” to member states concerning deceased and
   relocated registrants, and other information related to voter registration list maintenance. See ERIC Membership
   Agreement at Section 4(a) (page 15), available at https://ericstates.org/wp-
   content/uploads/2020/02/ERIC_Bylaws_01-2020.pdf (last accessed June 23, 2021).
   2
    “The Social Security Death Master File, sometimes referred to as the “Social Security Death Index,” is used by
   ERIC to identify voters who have died so that they can be removed from ERIC states’ voter rolls.” ERIC, 2017
   Annual Report at 6, https://ericstates.org/wp-content/uploads/2019/01/FINAL_ERIC_2017_Annual_Report.pdf.


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                                                                                                           EXHIBIT A
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          2020, and 2021. Such lists will optimally include unique voter identification numbers,
          county or locality, full names, addresses, and dates of birth.

   The Foundation is aware that Section 4(a) of the ERIC Membership Agreement (last updated on
   February 3, 2020) states that Members shall not disclose ERIC Data without a court order
   compelling disclosure(s). Please advise if your office elects to follow the Membership
   Agreement here or comply with Section 20507(i) of NVRA on or before July 9, 2021.

   Thank you for your time and attention to this matter. Please feel free to utilize the contact
   information below for further correspondence.


   Sincerely,




   Logan Churchwell
   Research Director
   Public Interest Legal Foundation
   lchurchwell@publicinterestlegal.org




                                                     2

                                                                                             EXHIBIT A
